          FILED
   November 30, 2021
   CLERK, U.S. DISTRICT COURT
   WESTERN DISTRICT OF TEXAS

             MChiong
BY: ________________________________
                                       EP-21-CV-292-DCG
                        DEPUTY




                                       Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 1 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 2 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 3 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 4 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 5 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 6 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 7 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 8 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 9 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 10 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 11 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 12 of 13
Case 3:21-cv-00267-RRB Document 1 Filed 11/30/21 Page 13 of 13
